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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                            Criminal Case No. 21-582 (CRC)
MICHAEL A. SUSSMANN,

                       Defendant.


            DECLARATION OF PATRICK BENEDICT OF PERKINS COIE LLP

       I, Patrick Benedict, declare under penalty of perjury as follows:

       1.       I am employed by the law firm Perkins Coie LLP (“Perkins Coie”) as the Director

of Records, and I have been authorized to make this declaration on behalf of Perkins Coie. I am

over the age of eighteen and, if called to testify, could and would testify competently as to the

following based on my review of documents and information maintained by Perkins Coie.

       2.       I submit this declaration on behalf of Perkins Coie related to attorney-client

privilege and work-product claims asserted by Perkins Coie, on behalf of the Hillary for America

Campaign Committee, Inc. (“HFACC”), the Democratic National Committee (“DNC”), and

Rodney Joffe.

       3.       I am providing the following information on behalf of Perkins Coie based on

available records maintained by Perkins Coie in a good faith effort to assist the Court regarding

the bases for privilege claims by HFACC, DNC, and Mr. Joffe.

       4.       Based on my review of available records of Perkins Coie, Perkins Coie was

engaged to serve as outside general counsel for HFACC and DNC during the 2016 Presidential

election cycle. I am submitting for review Exhibit A to this declaration, which is a true and correct

copy of the engagement letter between Perkins Coie and HFACC for the 2016 Presidential election



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cycle. I am also submitting for review Exhibit B to this declaration, which is a true and correct

copy of the engagement letter between Perkins Coie and DNC for the 2016 Presidential election

cycle.

         5.    On December 13, 2017, Marc Elias provided sworn testimony to the United States

House of Representatives Permanent Select Committee on Intelligence (“HPSCI”), an excerpt of

which is attached hereto as Exhibit C. There, Mr. Elias stated that “There were – in the

representation of the Clinton campaign and the DNC, I had, you know, probably, all told, a couple

of dozen of lawyers who reported to me, both inside my firm and inside the organizations. Outside

of the legal – outside of lawyers who reported directly to me, which is why I said I was the

gatekeeper, there – I’m unaware of there being any contacts between – between Fusion and anyone

with the campaign. And those contacts within my legal team, you know, the buck stops with me.

I was – they were acting as – you know, as my agents.” Ex. C at 49.

         6.    Marc Elias departed Perkins Coie, along with substantially all of the Political Law

Practice Group, on September 1, 2021. Records in connection with the representation of HFACC

were transferred to Mr. Elias and his group pursuant to a client file transfer dated August 26, 2021,

and Perkins Coie lawyers ceased to do substantive work for HFACC after September 1, 2021.

         7.    Based on my review of available records of Perkins Coie, then-partner Michael

Sussmann represented Rodney Joffe regarding various matters, starting in at least 2015. I am

submitting for review Exhibit D to this declaration, which is a true and correct copy of the

engagement letter between Perkins Coie and Mr. Joffe that would have governed the client

relationship with Mr. Joffe in the summer of 2016. Mr. Sussmann was the client lead for Perkins

Coie’s representation of Mr. Joffe.




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                       Exhibit A
             (Filed Under Seal)
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                        Exhibit B
              (Filed Under Seal)
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                 EXHIBIT C
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       EXECUTIVE SESSlON

       PERIVIANENT SELECT COMMITTEE ON INTELLIGENCE

       U.S. HOUSE OF REPRESENTATIVES

       WASHINGTON, D.C.




             INTERVIEW   OF:     MARC ELIAS




                             Wednesday, December 13, 2A17

                                     Washington, D.C.




             The interview in the above matter was held in Room HVC-304, the Capitol,

       commencing at 2:07 p.m.

             Present: Representatives Ros-Lehtinen, Wenstrup, Gowdy, Schiff, Himes,


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     Carson, Speier, Quigley, Swalwell, Castro, and Heck




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       Appearances:




       For the PERMANENT SELECT COMMITTEE ON TNTELLTGENCE:




       For MARC ELIAS:



       KATHRYN H. RUEMMLER, ESQ.

       555 ELEVENTH STREET, N.W., SUITE lOOO

       WASHINGTON, DC     2OOO4-1   304



       NICHOLAS MCQUAID, ESQ.

       885 TH|RD AVENUE (AT 53RD STREET)

       NEW YORK, NY 10022-4834




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       the privilege that we've discussed today?

               MS. RUEMMLER: I think we should consult because I don't know the

       answer.

               MR. HIMES: Okay.

               MS. RUEMMLER: So I can advise.

               [Discussion off the record.]

               MR. ELIAS: Let me        - | think I can clarify this. There were -- in the
       representation of the Clinton campaign and the DNC, I had, you know, probably,

       all told, a couple of dozen of lawyers who reported to me, both inside my firm and

       inside the organizations. Outside of the legal      -   outside of lawyers who reported

       directly to me, which is why I said I was the gatekeeper, there -- I'm unaware of

       there being any contacts between -- between Fusion and anyone with the

       campaign. And those contacts within my legalteam, you know, the buck stops
       with   me.   I   was -- they were acting as -- you know, as my agents.

               MR. HIMES: Okay. That's helpful. Thank you.

               All right. Let me just get into some sort of nitty-gritty questions. First, just

       following up on something Mr. Gowdy asked you, he was -- appeared interested in

       your decision to hire Fusion GPS for litigation research because its employees are

       not lawyers. ls it fair to say that litigation research often includes nonlawyers of

       all sorts of varieties, accountants, journalists, et cetera?

               MR. ELIAS: From my standpoint, I won't say a hundred -- I won't say

       never to anything, but I -- I am -- I am hiring people who are not lawyers. lf        I



       needed lawyers, I have lawyers. So, yes, it is typically people who have an

       expertise other than being a lawyer.

               MR. HIMES: Yes, got        it. Great.   Let's get back to some of the


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                         Exhibit D
               (Filed Under Seal)
